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                                                                                       July 16, 2020

   Hon. Stewart D. Aaron
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

                Re:        Mazzocchi v. Windsor Owners Corp. et al., 11-cv-07913

   Dear Magistrate Judge Aaron:

                  I write pursuant to your Order, Document No. 276, that defendants file a
   letter with the Court responding to three questions. This letter is that response.

                     (1)      The full name of “Howard”, mentioned on EP000056, is Howard
                              Lazarus, who was at the time and I am informed remains General
                              Counsel of Tudor Realty Corp. According to Ms. Dunphy, who
                              wrote the mail that is redacted on EP 000056, the advice contained
                              in the email was given to the Windsor Board by Mr. Lazarus acting
                              as the Tudor General Counsel. Tudor was at that time a co-
                              defendant with Ms. Dunphy and Windsor in the instant action.

                     (2)      “Cholst” is Bruce Cholst, who was a member of the law firm that
                              was then representing Windsor and the individual members of the
                              Windsor Board in the instant action.

                     (3)      I am informed by Ms. Dunphy, who received the email mentioned
                              on EP000068, that at the time Jeffrey Reich was an attorney for
                              Windsor, and at some point around the time of the email he was
                              General Counsel to Windsor.

                                                  Sincerely yours,

                                                  /s/ Jeffrey E. Glen
                                                          Jeffrey E. Glen



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